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   11                       UNITED STATES DISTRICT COURT
   12                     CENTRAL DISTRICT OF CALIFORNIA
   13   ENTROPIC COMMUNICATIONS,                 Case No. 2:23-cv-1049-JWH-KES
        LLC,                                     (Lead Case)
   14
                          Plaintiff,             Case No. 2:23-cv-01050-JWH-KES
   15                                            (Related Case)
              v.
   16                                            JOINT REQUEST FOR
        COX COMMUNICATIONS, INC., et             CLARIFICATION REGARDING
   17   al.,                                     ORDER SETTING CLAIM
                                                 CONSTRUCTION SCHEDULE (ECF
   18                     Defendants.            NO. 75)
   19                                            Hearing Date:       July 16, 2024
                                                 Hearing Time:       10:00 a.m.
   20                                            Courtroom:          9D
   21   ENTROPIC COMMUNICATIONS,
        LLC,
   22
                          Plaintiff,
   23
              v.
   24
        COMCAST CORPORATION, et al.,
   25
                          Defendants.
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                             JOINT REQUEST FOR CLARIFICATION
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    1         Plaintiff Entropic Communications, LLC (“Entropic”) and Defendants
    2   Comcast    Cable Communications, LLC, Comcast Cable Communications
    3   Management, LLC, and Comcast Corporation (“Comcast”), CoxCom, LLC, Cox
    4   Communications California, LL, Cox Communications, Inc. (“Cox”) (together with
    5   Comcast, “Defendants”) (collectively, the “Parties”) hereby submit the following
    6   Joint Request for Clarification Regarding Order Setting Claim Construction Schedule
    7   (ECF No. 75). 1
    8         The current claim construction schedule does not provide a date for a technical
    9   tutorial. Therefore, the parties respectfully request clarification as to:
   10         (1) whether the Court would like the parties to provide a technical tutorial to
   11             the Court separate from the scheduled Markman briefing and Markman
   12             hearing;
   13         (2) if so, the Court’s preferred format (e.g., in person, electronic presentation
   14             with a voiceover); and
   15         (3) the date on which the technical tutorial should be submitted or provided (if
   16             in person).
   17
        Dated: May 7, 2024                          By: /s/ Connor J. Meggs
   18
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          See also Dkt. 117 in the 2:23-cv-01050-JWH-KES case, which is the substantially
        similar Order Setting Claim Construction Schedule issued prior to consolidation
   28   with the 2:23-cv-01049-JWH-KES case.
                                                    3
                                JOINT REQUEST FOR CLARIFICATION
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                             JOINT REQUEST FOR CLARIFICATION
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                                                   and Cox Communications California
    7                                              LLC
    8

    9                            SIGNATURE CERTIFICATION
   10         Pursuant to L.R. 5-4.3.4(a)(2)(i), I, Connor J. Meggs, attest that all other
   11   signatories listed herein and on whose behalf the filing is submitted concur in the
   12   filing’s content and have authorized the filing.
   13

   14    Dated: May 7, 2024                       /s/ Connor J. Meggs

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                              JOINT REQUEST FOR CLARIFICATION
